UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 LIVE BRANDS HOLDINGS, LLC,
                                 Plaintiff,

                     -against-
                                                                       20-CV-01213 (AS)
 GASTRONOMICO GRACIAS A DIOS,
 SOCIEDAD RESPONSABILIDAD                                                   ORDER
 LIMITADA DE CAPITAL VARIABLE, et al.,
                                 Defendants.



ARUN SUBRAMANIAN, United States District Judge:
       It is HEREBY ORDERED that, in accordance with Paragraph 10.A of the Court’s

Individual Practices for Civil Cases, the parties shall file on ECF a proposed joint pretrial order by

October 16, 2023, at 5 p.m. The proposed joint pretrial order shall also be sent to the Court by

PDF attachment to an e-mail.

       It is FURTHER ORDERED that, in accordance with Paragraphs 10.B and 10.D of the

Court’s Individual Practices for Civil Cases, each party shall file and serve along with the joint

pretrial order all required pretrial filings, including motions addressing any evidentiary issues or

other matters that should be resolved in limine; and joint requests to charge, joint proposed verdict

forms, and joint proposed voir dire questions.

       It is FURTHER ORDERED that, in accordance with Paragraph 10.C of the Court’s

Individual Practices for Civil Cases, the parties shall provide to the Court by October 16, 2023,

at 5 p.m., an electronic copy of each exhibit sought to be admitted (with each filename

corresponding to the relevant exhibit number — e.g., “PX-1,” “DX-1,” etc.) on either a CD-ROM

or a flash drive. If submission of electronic copies would be an undue burden on a party, the party

may seek leave of Court (by letter-motion filed on ECF) to submit prospective documentary
exhibits in hard copy. Each hard copy shall be pre-marked (that is, with an exhibit sticker) and

assembled sequentially in a loose leaf binder (not to exceed 2 1/2 inches in thickness) or in separate

manila folders labeled with the exhibit numbers and placed in redweld folders labeled with the

case name and docket number. The parties shall also provide, by e-mail to the Court, a Microsoft

Word document listing all exhibits sought to be admitted. The list shall contain four columns

labeled as follows: (1) “Exhibit Number”; (2) “Description” (of the exhibit); (3) “Date Identified”;

and (4) “Date Admitted.” The parties shall complete the first two columns, but leave the third and

fourth columns blank, to be filled in by the Court during trial.

       It is FURTHER ORDERED that, in accordance with Paragraph 10.F of the Court’s

Individual Practices for Civil Cases, by October 27, 2023, at 5 p.m. the parties shall file, if

necessary, any opposition to any motion in limine; and any opposition to any legal argument in a

pretrial memorandum.

       It is FURTHER ORDERED that counsel for all parties shall appear for a final pretrial

conference on November 6, 2023, at 10:30 a.m., in Courtroom 15A of the Daniel Patrick

Moynihan Courthouse, 500 Pearl Street, New York, NY 10007.

       It is FURTHER ORDERED that prior to the Final Pretrial Conference, counsel for both

parties, along with the parties themselves, shall meet in person for at least one hour to discuss

settlement of this matter.

       Finally, it is FURTHER ORDERED that that this matter is scheduled for trial beginning

November 13, 2023, at 9 a.m. That trial date should be treated as a firm date. Counsel should

immediately confirm the trial date with any and all witnesses and advise the Court if the date is a

problem. If counsel fails to bring any such conflict to the Court’s attention within the next three

days, no adjournments will be granted on that basis. The parties are advised that the trial date will

not be adjourned on account of a settlement in principle; put differently, unless the parties (1) file

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a stipulation of dismissal or settlement or (2) appear in person to put the material terms of a

settlement on the record (and the Court approves the settlement to the extent that such approval is

required), the parties should be prepared to go to trial as scheduled.

       SO ORDERED.

Dated: August 22, 2023
       New York, New York



                                                                  ARUN SUBRAMANIAN
                                                                  United States District Judge




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